             Case 6:19-bk-02518-CCJ         Doc 13     Filed 05/30/19   Page 1 of 2



                                       ORDERED.

     Dated: May 30, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

IN RE:                                         )
                                               )
Rhonda Ellen Walsh,                            )          CASE NO. 6:19-bk-02518-CCJ
                                               )          CHAPTER 7
         Debtor.                               )
                                               )

 ORDER AUTHORIZING RETENTION OF BK GLOBAL REAL ESTATE SERVICES
    TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §327

         THIS CASE came on for consideration without hearing on the Trustee’s Application to

Retain BK Global Real Estate Services to Procure Consented Public Sale Pursuant to 11 U.S.C.

§327 (Doc. No. 11). The Court concludes that BK Global Real Estate Services does not hold or

represent an interest adverse to the estate and are disinterested persons within the meaning of

Section 101(14) of the Bankruptcy Code. The Court further concludes that BK Global Real Estate

Services is qualified to represent the Trustee and that the Court’s authorization of their

employment is in the best interest of the estate. Accordingly, it is
            Case 6:19-bk-02518-CCJ          Doc 13     Filed 05/30/19     Page 2 of 2



       ORDERED the Application is granted and the Court approves the retention of BK Global

Real Estate Services to sell real property located at 44 Utah Place, Palm Coast, FL 32164. All

compensation authorized is subject to the provisions of Section 330 of the Bankruptcy Code and

any hourly rate is not guaranteed and is subject to review and no payment whatsoever shall be

made to the attorney absent application and order.


Trustee, Lori Patton, is directed to serve a copy of this Order on interested parties who are non-
CM/ECF users and file a proof of service within 3 days of entry of the Order.




                                                 2
